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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

In re:                                                         Chapter 11

85 FLATBUSH RHO MEZZ LLC, et al.,                              Case No. 20-23280-SHL

                                   Debtors.                    Jointly Administered

-------------------------------------------------------x

    ORDER STAYING THE EFFECTIVE DATE OF TH HOLDCO’S CONFIRMED
   PLAN AND THE CLOSING ON TH HOLDCO’S CREDIT BID PENDING APPEAL

         Upon reading and filing the motion [ECF No. 294] (the “Stay Motion”) of 85 Flatbush

Mezz LLC (the “Mezzanine Lender”) seeking a stay pending appeal pursuant to Bankruptcy Rule

8007 from this Court’s order confirming the Chapter 11 plan [ECF No. 211] (the “TH Holdco

Plan”) filed by TH Holdco LLC (“TH Holdco”) and authorizing the sale of the property of the

applicable Debtors in the above captioned case (collectively, the “Debtors”) subject to the credit

bid rights of TH Holdco [ECF No. 280] (the “Confirmation Order”); and upon the response to the

Stay Motion filed by TH Holdco thereto [ECF Nos. 301 and 302]; and upon the reply of the

Mezzanine Lender thereto [ECF No. 304]; and the Debtors having joined in the Stay Motion [ECF

No. 303], and the Stay Motion having come on for a hearing before the undersigned on August 3,

2022 (the “Hearing”) and after hearing the arguments of all counsel present; and based upon the

record compiled at the Hearing; and due deliberation having been had; it is hereby

         ORDERED, that (i) closing on TH Holdco’s credit bid under the TH Holdco Plan relating

to the Property (as defined in the TH Holdco Plan); and (ii) the Effective Date of the TH Holdco

Plan, be, and the same are, hereby stayed pending appeal pursuant to Bankruptcy Rule 8007 for a

period of two months ending on October 3, 2022 for all of the reasons set forth on the record of

the Hearing, which is incorporated herein by reference; and it is further



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       ORDERED, that TH Holdco may move this Court to shorten the stay should the District

Court rule in TH Holdco’s favor prior to the expiration of the stay:

       ORDERED, that as a condition of the stay, the Mezzanine Lender shall file the original of

attached supersedeas appeal bond by ECF in the sum of $5 million in the form attached hereto as

Exhibit “A” issued by Atlantic Specialty Insurance Company in favor of TH Holdco (the “Bond”).

Dated: White Plains, New York
       August 11, 2022                               /s/ Sean H. Lane
                                                     United States Bankruptcy Judge




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